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   1    UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
   2    ------------------------------x
                                                    09-CR-466(BMC)
   3    UNITED STATES OF AMERICA,
                                                    United States Courthouse
   4                Plaintiff,                      Brooklyn, New York
                                                    June 26, 2018
   5                -against-                       9:30 a.m.

   6    JOAQUIN GUZMAN LOERA,

   7              Defendant.
        ------------------------------x
   8          TRANSCRIPT OF CRIMINAL CAUSE FOR STATUS CONFERENCE
                     BEFORE THE HONORABLE BRIAN M. COGAN
   9                     UNITED STATES DISTRICT JUDGE
        APPEARANCES
  10    For the Government:      UNITED STATES ATTORNEY'S OFFICE
                                 Eastern District of New York
  11                             Brooklyn, New York 11201
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   1                (In open court.)

   2                THE COURTROOM DEPUTY:      All rise.

   3                THE COURT:    Good morning.     Have a seat, please.

   4                THE COURTROOM DEPUTY:      United States versus Guzman,

   5    Docket Number 09-CR-466.

   6                Counsel, please state your appearances starting with

   7    the government.

   8                MS. GOLDBARG:    Good morning, Your Honor.       On behalf

   9    of the government, Andrea Goldbarg, Amanda Liskamm, Adam Fels,

  10    Lynn Kirkpatrick, Anthony Nardozzi, Michael Robotti, and Gina

  11    Parlovecchio.

  12                THE COURT:    Good morning.

  13                MS. PARLOVECCHIO:     Good morning, Your Honor.

  14                MR. BALAREZO:    Good morning, Your Honor.       Eduardo

  15    Balarezo and Bill Purpura on behalf of Mr. Guzman.

  16                THE COURT:    Good morning, counsel.

  17                Good morning, Mr. Guzman.

  18                I will note for the record that we have an

  19    interpreter who has previously been sworn for Mr. Guzman.

  20                I want to thank the parties for the midnight excuse

  21    to get up last night.      I could say to the government, you

  22    know, just because something is due the day before the

  23    hearing, it doesn't mean you have to file it at midnight,

  24    right?    You could have filed it at 5.       You could have even

  25    filed it the day before.       That is permissible, just so you

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   1    know, for future reference.

   2                Mr. Balarezo, I have say, that reply you got in two

   3    hours after the government filed its opposition, that was a

   4    great job.    I mean, I don't know how you did it.

   5                MR. BALAREZO:    A lot of coffee, and some concern,

   6    but otherwise we had to get it in before the hearing because

   7    it was an agenda item, Your Honor.

   8                THE COURT:    Okay, but you understand, both sides

   9    understand, that while you might be able to sleep in today, I

  10    haven't had as much time as I want to review those papers that

  11    came in at midnight and later.        I've looked at them.     I think

  12    I understand what you're saying, but I'm not going to rule

  13    precipitously without having a chance to review them further.

  14    I do want to ask a couple of questions about them, though.

  15                First of all, am I correct that the current Brady

  16    dispute arises entirely out of the government's June 4th

  17    letter where the government listed 41 categories of

  18    potentially exculpatory information that it has.

  19                Am I right about that?

  20                MR. BALAREZO:    Yes, Your Honor.

  21                THE COURT:    Okay.

  22                MR. BALAREZO:    The government made its first Brady

  23    disclosure on June 4th of the 41 items, specific items of what

  24    we consent is exculpatory or helpful information.

  25                THE COURT:    Okay.   And the problem, just to

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   1    summarize it, seems to be that the government has that

   2    information, not that it's going to use that information, but

   3    it has it from cooperators who it's not going to call at trial

   4    and, therefore, the defense has no opportunity to develop that

   5    information.

   6                Is that what's going on?

   7                MR. BALAREZO:    Your Honor, that's correct.       We

   8    didn't find out until last night that the government does not

   9    intend to call any of those cooperators as witnesses against

  10    Mr. Guzman at trial, and that's the position that we're put

  11    in.

  12                If they were to call these individuals, at least we

  13    could develop the testimony and elicit that information

  14    through cross-examination; however, here, given that the

  15    government has not identified the individuals, has not given

  16    us any other information besides just the summary of what the

  17    evidence is, we have no way of making use of it at this point.

  18                THE COURT:    Okay.

  19                MR. BALAREZO:    And sorry, the other thing is we have

  20    to keep in mind, a lot of this information has been in the

  21    government's hands for years.       This is not something that they

  22    just came upon on June 3rd and said, hey, let's disclose it to

  23    Guzman when we got it.      They've had information from '93,

  24    2002, 2007, almost every year before Mr. Guzman was even

  25    actually indicted in the United States.

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   1                THE COURT:    I know, but if they had given you what

   2    is, in your view, enough information on June 4th, that would

   3    give you three months prior to trial to develop it; probably

   4    longer, since you wouldn't have to do it until the end of the

   5    government's case.

   6                So that would have been okay.       But the linchpin to

   7    me is what happens with the fact that you don't know where

   8    this information is from and, therefore, how do you get to it.

   9                Let me ask the government that question.         Let's

  10    suppose there is a witness out there that has exculpatory

  11    information, you've told the defense that there is that

  12    information, but the defense doesn't know who that is that

  13    said that.

  14                MS. GOLDBARG:    Yes, Your Honor.        First of all, I

  15    think it's a mischaracterization to say that these people are

  16    cooperators with the government.        As we indicated in the

  17    reports, some of this information was provided by one-time

  18    sources, the people that walked into law enforcement that

  19    provided information in other ways.

  20                THE COURT:    Yes, I used the term "cooperators" too

  21    broadly.    That's right.

  22                MS. GOLDBARG:    And, again, some of that we provided

  23    the basis of their information, whether or not they had

  24    first-hand knowledge of it, and most of this is not witnesses

  25    that had first-hand knowledge of this information, but we're

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   1    hearing it from various layers of hearsay.           That's why we do

   2    not characterize it as exculpatory, per se, but in an

   3    abundance of caution, we did produce it.

   4                So, you know, we provided the information we believe

   5    that Brady requires us to provide.        And we believe that the

   6    information that we've provided is sufficient to allow him to

   7    conduct the necessary investigation that he has, including the

   8    redactable reports that we did, which show the nature and the

   9    attenuance of the information that we provided.

  10                THE COURT:    Okay, but now put yourself in his shoes.

  11    Somebody walking off the street and said, you know, Tom told

  12    Charlie, who told Sean, and then Sean told me this

  13    information.     And he thinks that information might be useable

  14    and he wants to track that down.        How does he do that?

  15                MS. GOLDBARG:    Your Honor, the case law in this

  16    circuit clears states that the defense has to make a

  17    particularized showing of why he's met that threshold.            And

  18    today with the information we provided, he has not met that

  19    threshold.

  20                THE COURT:    I got that, and that's one of the

  21    reasons I have to study the papers a little bit more.

  22                But I will say, Mr. Balarezo, I'm not entirely

  23    convinced of the materiality, and maybe it's because I don't

  24    understand what the defense is as well as I might, but how is

  25    this information material to the defense?

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   1                MR. BALAREZO:    Well, Your Honor, the government in

   2    its filing of yesterday specifically discussed nine points out

   3    of the 41 that it says is arguably exculpatory or favorable to

   4    the defense.     And they say we don't believe it is, but we're

   5    going to provide this information out of the abundance of

   6    caution, and I guess we thank them for that.

   7                The problem is the additional nine points that we

   8    mention as an example, each one of those points, and those are

   9    identified in my filing, each of those points being -- so the

  10    record's complete -- number 4, 5, 9, 10, 11, 12, 19, 21, 23,

  11    and these would be at page 3 of the unredacted filing.

  12                Those are direct quotes from the government's

  13    June 4th disclosure.      Each one of those particular bits of

  14    information indicate that -- as the first one indicates, and I

  15    think I can say this, that he was not a leader of the cartel.

  16    That he was a lieutenant of another person.          That

  17    Mr. Guzman -- that another person was the king of trafficking.

  18    That another person was the leader of the Sinaloa Cartel.

  19    That Mr. Guzman worked under another person.          That Mr. Guzman

  20    did not take any action without the approval of another

  21    person.

  22                THE COURT:    Okay, I got it, but let me ask you this.

  23    Let's assume you prove all that.        Does that get him acquitted

  24    on the charges?

  25                MR. BALAREZO:    Your Honor, let's not forget

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   1    Mr. Guzman is charged with 17 counts.         The first count is the

   2    CCE, that he was the -- participated in the criminal --

   3    continued criminal enterprise and that he was a leader, an

   4    organizer, or one of the group, the leader or organizer.

   5                The government has to prove those particular things

   6    beyond a reasonable doubt; they're an element of the defense.

   7    I believe and we believe that this information where somebody

   8    has told the government ten years ago or two years ago that

   9    Mr. Guzman was not a leader; that he was working under

  10    somebody else; that he had to take orders from somebody else;

  11    that he was not in a position of leadership goes directly to

  12    an element of the offense that the government has to prove.

  13    And if we were to prove or show that Mr. Guzman was not a

  14    leader of the Sinaloa Cartel or another drug trafficking

  15    organization, maybe he would be acquitted of the CCE.            That

  16    doesn't affect the other ones, obviously, but we still have to

  17    contend with each count individually.

  18                And for the government to say that these particular

  19    items that we highlighted yesterday are not Brady, they are

  20    not favorable, they are not exculpatory to say, well, you

  21    don't need them, that is really patently offensive.

  22                THE COURT:    Don't be offended, it's okay.

  23                MR. BALAREZO:    At least in the courtroom.

  24                It's ridiculous, because the government, number one,

  25    is not in a position to tell the defense what we can and

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   1    cannot do.    The government is not in a position to tell

   2    Mr. Guzman what he can defend himself with and not defend

   3    himself with.     And I think at the very least, the government

   4    should provide to the defense the identity of the individuals

   5    who made these statements, because without that it's utterly

   6    useless to us.     And that's all we're asking for.        All we're

   7    asking for is Mr. Guzman to have the ability to fairly defend

   8    himself.

   9                THE COURT:    Okay.   Well, I understand.

  10                Let me ask the government this.          Do you agree that,

  11    at least as to the charge that's been identified, if the

  12    defendant could introduce evidence raising a reasonable doubt

  13    that he was not the leader of the cartel, that would exonerate

  14    him from that count?

  15                MS. GOLDBARG:    No, Your Honor, because defense

  16    counsel's mischaracterizing the government's burden in proving

  17    that the defendant was a leader or had a leadership role in

  18    the continuing criminal enterprise.         As it's laid out, we have

  19    to prove that he was one, just merely one of several leaders;

  20    that he had a leadership position; that he supervised five or

  21    more people.     Whether or not someone else was equally as

  22    powerful as him, or more powerful than him does not negate his

  23    leadership role within the organization.         And the defendant

  24    was, in fact, indicted originally in this case with five other

  25    leaders.

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    1               So that's the nature of the case is what we

    2    described in our pleadings and our motion in limine,

    3    therefore, the nature of the reports or the summaries of the

    4    content that we provided does not negate his role within this.

    5               THE COURT:    So, for example, if your evidence shows

    6    at trial that he was a middle manager of the organization,

    7    that would satisfy your burden in your view?

    8               MS. GOLDBARG:     As long as the government were able

    9    to prove that he did supervise five or more people and the

   10    other elements within the CCE, then, yes, we would be able to

   11    meet our burden.

   12               THE COURT:    So you disagree.     I understand.     And

   13    you're reading the count differently.        I just wanted to know

   14    what the issue is, now I can go back and think about it.

   15               MR. BALAREZO:     Your Honor, again, the government is

   16    basically saying, we, the government, has accused him, has

   17    charged him with a particular offense, this is our theory of

   18    the case, and there can be no other.

   19               That's for the jury to decide.        And we should be

   20    able to put before the jury what our evidence is in order to

   21    rebut what the government's evidence is and let the jury

   22    decide is he guilty or not guilty.

   23               Obviously, the government says that he's guilty of

   24    this offense, that's not in dispute.        But he has a right, he

   25    has a due process right, he has a right under the Constitution

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    1    to be able to present a viable defense.         And if the Court has

    2    an issue with respect to the materiality of it, we would be

    3    more than happy to make an in camera disclosure to the Court.

    4    But I don't think we need to make that in the courtroom or to

    5    the government because the government has no right to know

    6    what our defense is.

    7               THE COURT:    Okay, but, you know, from the

    8    government's perspective, it seems to me they have to make a

    9    judgment as to whether information in their possession is

   10    material for Brady purposes and, therefore, they are required

   11    to anticipate, to some extent, what the defense is, because it

   12    might be material to one defense, and it might be immaterial

   13    to another defense.

   14               So it's not as if they have to think of what is your

   15    broadest, straight-faced defense that he might have and make

   16    disclosure as to that.      They have to think about what is the

   17    actual, reasonable view of the defense in this case.           So you

   18    do, if you want them to have the obligation to give you

   19    information relating to a particular defense, you have to let

   20    them know what it is.

   21               Now, you've gone maybe as far as you need to this

   22    morning by saying our view is if he is not the leader, then he

   23    is not guilty of that count.       They understand that.      They

   24    disagree with that, but that's their view.

   25               MR. BALAREZO:     Your Honor, we respectfully disagree.

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    1    We understand that the government has the -- let's say takes

    2    the first cut at the evidence.       They have evidence in their

    3    possession, they need to make a determination under the case

    4    law is this disclosable or not disclosable under Brady.

    5                We don't believe, and we don't believe that the case

    6    law says that that is the end of the analysis, which is why we

    7    raised it with the Court.      We believe it is in the Court's

    8    discretion to force the government to turn it over based on

    9    what we've disclosed.

   10                What the government says is not the end of the

   11    analysis.    That's why we're asking the Court, based on what

   12    we've argued in the papers and what we are prepared to present

   13    to the Court in camera, that there is sufficient basis for us

   14    to need that information to be able to defend him.

   15                THE COURT:   Okay.    Well, you raise a new aspect of

   16    this motion practice, which is the possibility of an in camera

   17    submission in order to avoid disclosing your theory to the

   18    government.    Obviously, I agree with you that the ultimate

   19    determination of materiality is mine, not the government's,

   20    but in order to do that, I may need more than what you've

   21    given me so far.

   22                MR. BALAREZO:    And we're prepared to do that, Your

   23    Honor, in camera, because the government is not entitled to

   24    the defense's theory of the case at this point.

   25                THE COURT:   Yes, I'm just not sure that's right in

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    1    terms of the disclosure of Brady material.

    2               Does the government have a view on that?

    3               MS. GOLDBARG:     We believe that we've addressed the

    4    issues in our position.      We do not know whether or not -- our

    5    perspective of what's been set forth right now, materiality we

    6    do believe that we've turned over what we believe is material

    7    to the defense.     Without knowing his theory, I know the Court

    8    had provided this opportunity in other aspects to have an in

    9    camera review --

   10               THE COURT:    Well that was in a CIPA context.

   11               MS. GOLDBARG:     In this context, again, if we -- as

   12    the Court has explained, we can take an expansive view of what

   13    we believe would be material and favorable to the defense and

   14    we can turn it over.     And that's -- you know, we believe we've

   15    fulfilled our obligations on that.

   16               THE COURT:    Does the government have any objection,

   17    which I think it would be hard pressed to make in this case,

   18    of an ex parte submission?

   19               MS. GOLDBARG:     We do not have an objection to that,

   20    Your Honor.

   21               THE COURT:    Okay.    And when are you going to get me

   22    that submission?

   23               MR. BALAREZO:     Your Honor, hopefully by the end of

   24    the day.

   25               THE COURT:    That's good.

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    1               All right, so I think I have everything I need, once

    2    I get that submission, to go ahead and rule on that motion.

    3               MR. BALAREZO:     And that would be before midnight,

    4    Your Honor.

    5               THE COURT:    Thank you very much.

    6               Other motions that we need to address today.          The

    7    government has asked for a final deadline for the remaining

    8    motions.

    9               You know, it's, as I've said all along, if the

   10    defense gets new information from the government that it

   11    didn't have before but could have reasonably anticipated a

   12    motion, then it's entitled to make a motion as to that

   13    information.    I don't see a need to set a hard deadline on

   14    that, as long as the government has not yet completed all of

   15    its production.

   16               You're not telling that you have; are you?

   17               MS. GOLDBARG:     I'm sorry, could you --

   18               THE COURT:    Have you completed all of your

   19    production?

   20               MS. GOLDBARG:     Our discovery production?

   21               THE COURT:    Yes.

   22               MS. GOLDBARG:     Yes, we have received some late

   23    materials from foreign governments and we turned those over.

   24    Simply as we turned them over, we did our discovery production

   25    today.

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    1               THE COURT:    Okay.

    2               MS. GOLDBARG:     And there, as the Court anticipated,

    3    there may be a document here or there that as we go through

    4    our files but, yes, we've completed our discovery obligations.

    5               THE COURT:    Okay.    Do you see any motions coming,

    6    besides what you made?

    7               MR. BALAREZO:     Your Honor, I just want to clarify.

    8    We received at 11:59 or whatever yesterday a letter from the

    9    government saying that they had a additional discovery that I

   10    could obtain from a third-party vendor.

   11               They could have brought it this morning to save me

   12    the waiting time to get it in four days from that vendor, but

   13    we'll get it.    But the government continues to produce

   14    discovery long after the Court has imposed its deadline.            I do

   15    see a particular motion that I do intend to file, and that is

   16    a motion to suppress the interception of the trial

   17    communications, to suppress wiretaps.

   18               And although the government did present discovery to

   19    the defense earlier with respect to the affidavits for those

   20    wiretaps, they were severely redacted.        Literally we had black

   21    pages after black pages with just Mr. Guzman's name showing.

   22    I finally asked them to provide to me the unredacted documents

   23    that would put some of context as to why Mr. Guzman's name is

   24    there, and they do indicate to me that I do need to file a

   25    motion to suppress wiretaps.       So I do intend to file that

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    1    shortly.

    2               But there's thousands of pages of this material that

    3    we're going through to try to make sense of it because, again,

    4    it was presented to us without any index or any other context,

    5    and that's one motion I will file.

    6               When we review the new discovery, if there's

    7    something that needs to be filed, we will file it.

    8               THE COURT:    Let's talk first about the one motion

    9    you intend to file.     What is that?     When are you going to file

   10    that motion?

   11               MR. BALAREZO:     Your Honor, if I could have three

   12    weeks.

   13               THE COURT:    That's a very long time in the context

   14    of this case.

   15               MR. BALAREZO:     It's a very complicated issue, Your

   16    Honor.   Again, there's dozens of orders that we're still

   17    literally trying to make sense of.

   18               THE COURT:    You're talking about suppression of

   19    recorded telephone conversations, which you have.          There may

   20    be facts I can't imagine that made it very complicated.           It

   21    doesn't sound that complicated to me right now.          I'm going to

   22    ask you to make that motion in ten days.

   23               MR. BALAREZO:     Ten days?

   24               THE COURT:    Ten days.

   25               MR. BALAREZO:     Fine.

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    1                THE COURT:   Okay.    Obviously, you're going to have

    2    to demonstrate in that motion, and any others, that you could

    3    not reasonably have been expected to make it earlier based on

    4    the information that you had.       You've given me a reason that

    5    sounds plausible on its face, and I'll consider that, but

    6    remember, we had an April 9th date for motions, and we're well

    7    past April 9th.

    8                MS. GOLDBARG:    Your Honor, may I just clarify for

    9    the record.    We have been working with defense counsel as much

   10    as possible to help him identify the documents.          The documents

   11    he's talking about now were provided in August of 2017.

   12                When we knew that he was raising the issue of a

   13    possible suppression motion, in our discovery letter filed on

   14    April 16th of this year, we detailed every single intercept;

   15    where it came from, the Bates stamp numbers.          He asked for

   16    additional information.      The unredacted copy he's asking for,

   17    we produced.    He asked for them in May, we produced them

   18    within I believe a week or two.       And we produced them

   19    unredacted.    Those are the same documents he received in

   20    August.

   21                We have been working with him.       In fact, when we had

   22    discussions before, we made sure to arrange the filing

   23    schedule.    He indicated he was going to file this.         He was

   24    going to try before the status conference, but if not this

   25    week, and we agreed that we would ask for three weeks to

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    1    respond to it.    We do believe that we provided him everything

    2    in a timely fashion, and we're working with him to make sure

    3    he has everything he needs.

    4                THE COURT:   Like I said, he's going to need to

    5    demonstrate that he could not have reasonably made the motion

    6    earlier, based on the April disclosures.         If he doesn't, I'm

    7    going to say it's untimely.       But I think we need to get it in

    8    and decide this as quickly as possible.

    9                Second.   Transcripts.    The government is proposing

   10    August 17th.    That also strikes me as late.

   11                MS. GOLDBARG:    Your Honor, we anticipate that there

   12    will be approximately 100 to 150 transcripts that we will use

   13    at trial.    That will include recorded communications as well

   14    as electronic communications.

   15                We understand defense counsel's concern is the

   16    defendant's -- the transcript relating to the defendant's

   17    interceptions.

   18                We are, as we say in our letter, going to start

   19    producing finalized transcripts on a rolling basis.           We

   20    believe we will start that in mid-July.         We will work with

   21    defense counsel to make sure that we can reach a stipulation

   22    as to the contents and the quality of the transcription and

   23    the translation.

   24                THE INTERPRETER:    Sorry.    Speak a little bit slower.

   25                MS. GOLDBARG:    I'm sorry.     Where do you want me to

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    1    start from?

    2               THE INTERPRETER:     Go back to when you were producing

    3    the transcripts.

    4               MS. GOLDBARG:     We would anticipate that we can start

    5    producing the transcripts, especially of the defendant's

    6    calls, in mid-July, and we will produce them on a rolling

    7    basis.   We will work with defense counsel to hopefully reach

    8    stipulations as we turn them over.

    9               The defense counsel has received draft transcripts

   10    of almost every interception that we have.           There are a few

   11    that he received summaries of only.         Those draft transcripts

   12    will be provided by the end of this week.            So defense counsel

   13    does have a starting point.       We're finalizing those, and we

   14    believe we will start the rolling process in mid-July.

   15               THE COURT:    The only question is, when are you going

   16    to stop rolling?

   17               MS. GOLDBARG:     As we say, based on where we are with

   18    the Spanish translators, we believe that we will finish it by

   19    August 15th.

   20               THE COURT:    How about a week shorter than that.

   21               MS. GOLDBARG:     We can try, Your Honor.

   22               THE COURT:    Try harder.

   23               MR. PURPURA:     Your Honor, will the Court consider a

   24    little earlier on that particular issue.         And the reason being

   25    we know the jury questionnaires are being disseminated the

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    1    first week of August.      We also know we are going to receive

    2    10,000 pages of Jencks the first week of August.          The

    3    transcripts, the amount of pages, and Jencks, and a lot of

    4    pages.

    5               The transcripts are 100 to 150 are somewhat

    6    voluminous.    Alls we're asking for, is if they had it for a

    7    particularly long period of time, is the Spanish and English

    8    translations so we can make sure it's accurate, and exactly

    9    where it comes from so we can listen to it live as well; the

   10    identity of the people who are speaking and the dates of the

   11    recording.

   12               THE COURT:    Okay, but they're going to start rolling

   13    those to you well in advance of what is now I think an

   14    August 10th cutoff.     So you're going to have those.

   15               And my experience with these transcripts are -- your

   16    disagreements are going to be few and far between.           This is

   17    really an administerial exercise.        So I don't think it will be

   18    the kind of exhaustive investigative exercise that we were

   19    talking about with the Brady material.

   20               MR. PURPURA:     Thank you.

   21               THE COURT:    All right.    On the motion to change

   22    venue, I'm going to hold on to that.        I appreciate the points

   23    the defense is making.      They are not at all invalid.

   24               Let me ask the defense this.       If we move the venue

   25    to the Southern District, are you looking for -- are you

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    1    waiving an Eastern District jury pool?

    2                MR. PURPURA:    Yes.    I think when venue -- when you

    3    do transfer venue, you waive the issue of venue to begin with.

    4                THE COURT:   There's different ways to do it.        We can

    5    move the case, or we can move the Court.         If we move the

    6    Court, it would still be an Eastern District jury.

    7                MR. PURPURA:    That's fine.

    8                THE COURT:   You don't care either way?

    9                MR. PURPURA:    The elephant in the room is the

   10    transportation on a daily basis of Mr. Guzman to this

   11    courthouse.    And if we do it in the Southern District, that

   12    avoids that.

   13                I'm not sure if there's a tunnel, but I know that

   14    the distance is only about 200 feet, yes, and that's in a

   15    secured area, and it avoids really the danger of the --

   16                THE COURT:   Okay.     But, again, you're indifferent to

   17    whether the panel is drawn from the Southern or Eastern

   18    District?

   19                MR. PURPURA:    Correct.   Absolutely.

   20                THE COURT:   And let me just ask you one more

   21    question about that.

   22                If the concern is that jurors will be impacted by

   23    travel difficulties, and we have an Eastern District jury, and

   24    we're sitting in Brooklyn, they're not really going to

   25    encounter traffic on the bridge, right?         Or is your concern

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    1    simply the inconvenience to the defendant of being transported

    2    every day?

    3                MR. PURPURA:    Not simply the defendant.      I think

    4    what we're going to have is, we're going to be -- obviously,

    5    when you close the Brooklyn Bridge for that brief time, it

    6    creates a lot of media and a lot of attention.          Whether the

    7    individual jurors are affected, or whether one of their

    8    friends or family members are affected, it's a pretty good

    9    chance that someone in this area is going to be affected by

   10    closing the Brooklyn Bridge.

   11                We know what happened when Chris Christie had a lane

   12    closed down on another bridge.

   13                THE COURT:   I have no idea what you're talking

   14    about.

   15                Okay, I understand.     I'm going to hold that one.

   16                Let's see.   The Brady motion we've covered.        The

   17    motion to suppress we've covered.

   18                There's another motion to suppress that was filed on

   19    June 6th.    The government says it's not going to use those

   20    statements that are the subject of that motion; is that right?

   21                MS. GOLDBARG:    That's correct, Your Honor.

   22                THE COURT:   Okay.    So that motion is denied as moot.

   23                Let's talk for a minute about the length of trial.

   24                You don't have to tell me, but is there a strategic

   25    reason, just yes or no, why the defense doesn't want to give

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    1    the normal stipulations that are given to shorten trials?

    2               MR. PURPURA:     That's a yes and a no.

    3               THE COURT:    Okay.

    4               MR. PURPURA:     What well do, and we mean this with

    5    all sincerity, no one is going to benefit by delaying the

    6    trial and bringing unnecessary witnesses in.           When we

    7    collectively catch our breath, we will, again, go back through

    8    the stipulations and see if there is something we can

    9    stipulate to to shorten the trial.

   10               Once the trial commences, if there's areas to

   11    stipulate, we will give the government notice in advance on

   12    those as well to save time to the Court.         We will, again, go

   13    through those stipulations.       I guess that's a yes and a no

   14    answer.

   15               THE COURT:    Well, I'm hopeful you will do that.

   16               MR. PURPURA:     We will.

   17               THE COURT:    If it does not succeed, then I'm held to

   18    go with the government's estimate and tell the jurors that

   19    they have to be cleared for four months.

   20               The reason for that is obvious.           If you tell jurors

   21    they're going to be needed for three months, then you can be

   22    sure they will make plans to resume their lives on the first

   23    day after the three months, and there will be medical

   24    appointments, and jobs, and vacations and all kinds of things

   25    we will run into.     So if we don't get back the original

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    1    estimate we were on, then I am going to tell the jurors that

    2    they have to be prepared for four months in order to avoid

    3    that situation.

    4               Okay.    That's all I have.

    5               Is there anything else that the parties need to

    6    raise?

    7               MR. BALAREZO:     Can I consult with the government for

    8    one moment?

    9               THE COURT:    Sure.    Absolutely.

   10               MS. PARLOVECCHIO:      Your Honor, just one more item.

   11               In regard to the jury questionnaires, we conferred

   12    with defense counsel about how we are handling the copying and

   13    the production of the completed questionnaires.          I also

   14    conferred with Ms. Clarke before court today about the

   15    logistics.

   16               The government will have a finalized copy to the

   17    Court and fully copied and ready for distribution to the

   18    venire a little bit more than a week before they come in on

   19    July 31st.    Once we have all the completed questionnaires, the

   20    government will give that to the vendor, we will have it

   21    reproduced.    The parties are going to share the costs.

   22               And defense counsel has asked for two copies.

   23               Is that correct?

   24               MR. BALAREZO:     Yes.

   25               MS. PARLOVECCHIO:      And we'll oversee that entire

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    1    process.

    2               THE COURT:    Okay, that sounds fine.

    3               Anything else?

    4               MR. BALAREZO:     There is, Your Honor.

    5               As the Court is aware, we have had two evaluations,

    6    psychological evaluations performed of Mr. Guzman.           The most

    7    recent one was maybe two, three weeks ago.

    8               We have consulted with the government, and the

    9    government has no objection to our request to have a medical

   10    doctor, a psychiatrist, also perform an evaluation of

   11    Mr. Guzman for the purposes of medication management, because

   12    we believe that he's not getting the adequate and proper

   13    dosage of certain medications at the MCC, and we would like

   14    that to be modified and corrected.        So I'm orally requesting

   15    the Court's authorization so I can file something to allow a

   16    psychiatrist to visit Mr. Guzman and do the appropriate

   17    evaluations.

   18               THE COURT:    That's fine, I'm happy to do that.         You

   19    may want to give me a written order, just because the MCC

   20    might require it.

   21               Okay, anything else?

   22               MS. GOLDBARG:     No, Your Honor.

   23               THE COURT:    All right, I understand you have

   24    discussed a date for the next conference, which is?

   25               THE COURTROOM DEPUTY:      August 14th at 9:30 a.m.

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    1               THE COURT:       Works for everybody?

    2               MS. GOLDBARG:       Yes, Your Honor.

    3               THE COURT:       Okay.   Thank you all very much.

    4               We're adjourned.

    5               MR. BALAREZO:       Thank you.

    6               THE COURT:       Yes, time is excluded because the case

    7    is complex.

    8               MS. GOLDBARG:       Thank you, Your Honor.

    9

   10               (Whereupon, the matter was concluded.)

   11

   12                            *      *     *      *    *

   13

   14

   15    I certify that the foregoing is a correct transcript from the
         record of proceedings in the above-entitled matter.
   16

   17    s/ Linda D. Danelczyk                    June 26, 2018

   18
           LINDA D. DANELCZYK                            DATE
   19

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